Case 3:20-cr-00084-EMC “Dot om, gE

 
 

Gnited States District Court

FOR THE
NORTHERN DISTRICT OF CALIFORNIA

VENUE: SAN FRANCISCO

 

UNITED STATES OF AMERICA, C R 5 0
V.

Kelvin Chen,

DEFENDANT(S).

 

INDICTMENT

18 U.S.C. §§ 2252(a)(4)(B) and (b)(2) — Possession of Child Pornography;
18 U.S.C. § 2253(a) — Criminal Forfeiture

 

A true bill. Q

: Foreman

 

Filed in open court this 200, day of
Leto na aK 2020

Luo aan

 

0084
EMC

nr ee SPER Clerk
ITED RATE JUDGE nae aebrvewrt \

Bail, § eee

 
AO 257 (Rev. 6/78)

Case 3:20-cr-00084-EMC ime

 

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DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION - IN U.S. DISTRICT COURT

 

BY: L] comptaint [] INFORMATION INDICTMENT
(_] SUPERSEDING

 

 

OFFENSE CHARGED
18 U.S.C. § 2252(a)(4)(B) and (b)(2) [_] Petty
L] Minor
Misde-
L] meanor
Felony

PENALTY: Maximum: 20 years’ imprisonment. Minimum term of supervised
release: five years; maximum term of supervised release: life.
Maximum fine: $250,000. Special assessment: $5,100. Forfeiture.

PROCEEDING

Name of Complaintant Agency, or Person (& Title, if any)

 

 

DHS

person is awaiting trial in another Federal or State Court,
give name of court

 

O

 

this person/proceeding is transferred from another district
per (circle one) FRCrp 20, 21, or 40. Show District

LI

 

this is a reprosecution of
charges previously dismissed
which were dismissed on motion

O

SHOW

ae DOCKET NO.
[[] U.S. ATTORNEY [[] DEFENSE \

this prosecution relates to a
[ ] pending case involving this same

defendant MAGISTRATE

prior proceedings or appearance(s)
before U.S. Magistrate regarding this
defendant were recorded under

 

 

 

\ CASE NO.
Name and Office of Person

Furnishing Information on this form David L. Anderson
U.S. Attorney [] Other U.S. Agency

 

Name of Assistant U.S.

Attorney (if assigned) Abraham Fine

 

 

PROCESS:
[_] SUMMONS [_] NO PROCESS* WARRANT

lf Summons, complete following:
[_] Arraignment [_] Initial Appearance

Defendant Address:

Date/Time:

 

Comments:

ADDITIONAL INFORMATION OR COMMENTS

Name of District Court, and/or Judge/Magistrate Location

SAN FRANCISCO DIVISION

NORTHERN DISTRICT OF CALIBGHN = D

 

 

DISTRICT COURT NUMBER

CR20 008

DEFENDANT

IS NOTIN CUSTODY
Has not been arrested, pending outcome this proceeding.
1) [X] If not detained give date any prior
summons was served on above charges

 

2) [_] |s a Fugitive

3) [_] !s on Bail or Release from (show District)

LL
FEB 20 2020
-—- DEFENDANT - U.S
SUSAN Y. SOONG
Kelvin Chen CLERK, U.S. DISTRICT COURT

ORN

4 EMC

 

IS IN CUSTODY
4) [[] On this charge

5) [-] On another conviction

\ C] Federal LJ State

6) [_] Awaiting trial on other charges

If answer to (6) is "Yes", show name of institution

 

Yes If "Yes"
Has detainer L_] } give date

been filed? [] No filed
DATE OF > Month/Day/Year
ARREST

 

Or... if Arresting Agency & Warrant were not

DATE TRANSFERRED Month/Day/Year
TO U.S. CUSTODY

 

 

This report amends AO 257 previously submitted

 

 

Bail Amount: No bail

* Where defendant previously apprehended on complaint, no new summons or
warrant needed, since Magistrate has scheduled arraignment

Before Judge:

 

lA
 

 

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DAVID L. ANDERSON (CABN 149604) SUSAN Y. SOONG
United States Attorney CLERK, US. DISTRICT COURT

NORTH DISTRICT OF CALIFORNIA

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION EMC

 

 

UNITED STATES OF AMERICA, ) CASENO.  { 9 0 0 0 2
3 CR 4
Plaintiff, ) VIOLATIONS:
) 18 U.S.C. §§ 2252(a)(4)(B) and (b)(2) — Possession
Vv. 5 of Child Pornography;
KELVIN CHEN, ) 18 U.S.C. § 2253(a) — Criminal Forfeiture
)
Defendant. [UNDER SEAL]
)
)
)
)
INDICTMENT
The Grand Jury charges:
COUNT ONE: (18 U.S.C. § 2252(a)(4)(B) and (b)(2) — Possession of Child Pornography)

Between on or about June 12, 2018 and August 1, 2019, in the Northern District of California,
the defendant,
KELVIN CHEN,
did knowingly possess matter which contained at least one visual depiction that had been shipped and
transported using a means and facility of interstate and foreign commerce, and had been shipped and
transported in and affecting interstate and foreign commerce, and that was produced using materials that

had been mailed, shipped, and transported using any means and facility of interstate and foreign

INDICTMENT

 
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commerce, including by computer, the production of which visual depiction involved the use of a minor
who had not attained 12 years of age engaging in sexually explicit conduct, which visual depiction was
of such conduct, all in violation of Title 18, United States Code, Sections 2252(a)(4)(B) and 2252(b)(2).
FORFEITURE ALLEGATION: (18 U.S.C. § 2253)

The allegations contained in this Indictment are re-alleged and incorporated by reference for the
purpose of alleging forfeiture pursuant to Title 18, United States Code, Section 2253.

Upon conviction of any offense charged in Count One, the defendant,

KELVIN CHEN,

shall forfeit to the United States, pursuant to Title 18, United States Code, Section 2253(a), the
following:

a. any visual depiction described in Title 18, United States Code, Sections 2251 or
2251A, or 2252, or any book, magazine, periodical, film, videotape, or other
matter which contains any such visual depiction, which was produced,
transported, mailed, shipped or received in violation of Title 18, United States
Code, Chapter 110;

b. any property, real or personal, constituting or traceable to gross profits or other
proceeds obtained from the offense; and

c. any property, real or personal, used or intended to be used to commit or to
promote the commission of the offenses.

The property to be forfeited includes, but is not limited to, the following items seized from the
defendant and his residence on or about August 1, 2019:

a. An Apple iMac computer;

b. A custom PC computer;

c. A thumbdrive.

If any of the property described above, as a result of any act or omission of the defendant:

a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the court;

INDICTMENT 2

 
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d. has been substantially diminished in value; or
€ has been commingled with other property which cannot be divided without
difficulty;

the United States of America shall be entitled to forfeiture of substitute property pursuant to Title 21,
United States Code, Section 853(p), as incorporated by Title 18, United States Code, Section 2253(b)
and by Title 28, United States Code, Section 2461(c).

All pursuant to Title 18, United States Code, Section 2253, Title 28, United States Code, Section

2461(c), and Federal Rule of Criminal Procedure 32.2.

 

DATED: A TRUE BILL.
FOREPERSON
DAVID L. ANDERSON

United States Attorney

at

ABRAHAM FINE
Assistant United States Attorney

wo

INDICTMENT

 
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FILED

UNITED STATES DISTRICT COURT FEB 20 2020
NORTHERN DISTRICT OF CALIFORNIA SUSAN Y, SOONG

CLERK, U.S. DISTRICT COURT
NORTH DISTRICT OF ou

CRIMINAL COVER SHEET

Instructions: Effective November 1, 2016, this Criminal Cover Sheet must be completed and submitted,
along with the Defendant Information Form, for each new criminal case.

CR20 0084

CASE NAME: CASE NUMBER:
USAY. Kelvin Chen CR EMC
Is This Case Under Seal? Yes ¥ No
Total Number of Defendants: 1v 2-7 8 or more
Does this case involve ONLY charges
under 8 U.S.C. § 1325 and/or 1326? mee No ¥
Venue (Per Crim. L.R. 18-1): SF f OAK SJ
Is this a potential high-cost case? Yes No v
Is any defendant charged with
a death-penalty-eligible crime? ne No ¥
Is this a RICO Act gang case? Yes No ¥
Assigned AUSA . ; .
(Lead Attorney); Abraham Fine Date Submitted: 2/20/2020
Comments:
RESET FORM SAVE PDF

Form CAND-CRIM-COVER (Rev. 11/16)
